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11                                 UNITED STATES DISTRICT COURT
12                             NORTHERN DISTRICT OF CALIFORNIA
13                                    SAN FRANCISCO DIVISION
14
15   UNITED STATES OF AMERICA,                    )      No.: CR 05-00465-JSW
                                                  )
16           Plaintiff,                           )
                                                  )      [PROPOSED] ORDER EXCLUDING
17      v.                                        )      TIME UNDER THE SPEEDY TRIAL ACT
                                                  )
18   ZIBU “BOB GAO,                               )
     ZHICHENG ZENG,                               )
19   LIN HUN MA, and                              )
     XIANG ZHUGE,                                 )
20                                                )
             Defendants.                          )
21                                                )
                                                  )
22
23           This matter came on the calendar of the Honorable Jeffrey S. White on August 4, 2005.
24   At the parties’ request, the Court continued the matter until September 29, 2005.
25           The parties requested an exclusion of time under the Speedy Trial Act from August 4
26   through September 29, 2005 based upon the need for effective preparation of counsel. The
27   government is in the process of providing discovery to the defense. Much of this discovery is in
28
     [PROPOSED] ORDER EXCLUDING TIME
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1    the Chinese language and needs to be translated. Moreover, additional evidence is being
2    examined at the State Department’s computer forensics laboratory. Additionally, one of the
3    defendants, Zibu “Bob” Gao, has not yet made an appearance before the Court. A reasonable
4    period of delay is permissible to permit the government to secure Gao’s appearance. See 18
5    U.S.C. § 3161(h)(7). Therefore, the parties are requesting an exclusion of time under the Speedy
6    Trial Act. The parties agree that the time from August 4 through September 29, 2005 should be
7    excluded in computing the time within which trial must commence. See 18 U.S.C. §§
8    3161(h)(7), 3161(h)(8)(A) and (B)(iv).
9           Accordingly, the Court HEREBY ORDERS that the time from August 4 through
10   September 29, 2005 is excluded under the Speedy Trial Act, 18 U.S.C. § 3161. The Court finds
11   that a reasonable period of delay is permissible to permit the government to secure Gao’s
12   appearance. See 18 U.S.C. § 3161(h)(7). The Court finds that the failure to grant the requested
13   exclusion would deny the defendants reasonable time necessary for effective preparation, taking
14   into account the exercise of due diligence. See 18 U.S.C. § 3161(h)(8)(B)(iv). The Court further
15   finds that the ends of justice served by granting the requested exclusion outweigh the best interest
16   of the public and the defendants in a speedy trial and in the prompt disposition of criminal cases.
17   See 18 U.S.C. § 3161(h)(8)(A). The Court therefore concludes that this exclusion of time should
18   be made under 18 U.S.C. § 3161(h)(8)(A).
19   SO ORDERED.
20   DATED: August 22, 2005                        ___________________________________
                                                   HONORABLE JEFFREY S. WHITE
21                                                 UNITED STATES MAGISTRATE JUDGE
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     [PROPOSED] ORDER EXCLUDING TIME
     UNDER TH E SPEEDY TRIAL ACT
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